
SMITH, J.
We are of the opinion that the motion to dismiss the appeal in this case should be overruled. The proceeding by the administrator to sell real estate alleged to have been owned by his intestate at the time of his death, to pay the debts of said estate, was properly brought in the court of common pleas, and it being an action in which neither of the parties was entitled to a trial by jury, it was appealable to the circuit court. In addition to tnis, other equitable claims are set up by some of the defendants, by answer and cross-petition, and they were appealable. The case was appealed by the administrator who had given bond in this State as such, as found by the common pleas, without giving an appeal bond, as the statute provides may be done. Other defendants appealed and gave bond. The case is properly in this court, and the motion is overruled.
